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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                  Plaintiff,
                                           Case No. 15-20652-13
vs.
                                           HON. GEORGE CARAM STEEH
ARLANDIS SHY, II,

              Defendant.
_____________________________/

          ORDER DENYING AS MOOT DEFENDANT’S MOTION
           TO SEVER CO-DEFENDANTS’ TRIALS [DOC. 421]

      This matter is before the court on defendant Arlandis Shy’s motion to

sever his trial from the trials of his co-defendants who face death eligible

counts and violent crimes. Shy filed his motion to sever on November 26,

2016, before the government filed its Fourth Superseding Indictment on

December 15, 2016. In the Fourth Superseding Indictment, Shy is named

in nine additional counts:

      Count Sixteen – Murder in Aid of Racketeering, 18 U.S.C. §§

1959(a)(1); 2

      Count Seventeen – Use of Firearm in Furtherance of a Crime of

Violence Causing Death, 18 U.S.C. §§ 924(c); 924(j); 2


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      Count Eighteen – Attempted Murder in Aid of Racketeering, 18

U.S.C. §§ 1959(a)(5); 2

      Count Nineteen - Attempted Murder in Aid of Racketeering, 18 U.S.C.

§§ 1959(a)(5); 2

      Count Twenty - Attempted Murder in Aid of Racketeering, 18 U.S.C.

§§ 1959(a)(5); 2

      Count Twenty-One – Assault with a Dangerous Weapon in Aid of

Racketeering, 18 U.S.C. §§ 1959(a)(3); 2

      Count Twenty-Two - Assault with a Dangerous Weapon in Aid of

Racketeering, 18 U.S.C. §§ 1959(a)(3); 2

      Count Twenty-Three - Assault with a Dangerous Weapon in Aid of

Racketeering, 18 U.S.C. §§ 1959(a)(3); 2

      Count Twenty-Four – Use and Carry of a Firearm During, and in

Relation to, a Crime of Violence, 18 U.S.C. §§ 924(c); 2

      Defendant Shy is now charged with multiple counts of murder and

attempted murder in aid of racketeering, so his argument that he has been

improperly joined because his offenses are unrelated to those of certain co-

defendants is no longer accurate. Due to the change in circumstances

brought by the filing of the Fourth Superseding Indictment, defendant Shy’s


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motion to sever his trial from those of the death eligible co-defendants is

DENIED.

      Five co-defendants filed notices of joinder/concurrence in defendant

Shy’s motion to sever: Jeffery Adams (doc. 423); Quincy Graham (doc.

425); Jerome Gooch (doc. 428); Steve Rumeal Arthur, Jr. (doc. 430),

Devon Patterson (doc. 431). The court’s denial of defendant Shy’s motion

to sever extinguishes the requests for relief sought by these co-defendants.

      IT IS SO ORDERED.

Dated: January 17, 2017
                                          s/George Caram Steeh
                                          GEORGE CARAM STEEH
                                          UNITED STATES DISTRICT JUDGE

                                CERTIFICATE OF SERVICE

                 Copies of this Order were served upon attorneys of record on
                    January 17, 2017, by electronic and/or ordinary mail.

                                    s/Marcia Beauchemin
                                        Deputy Clerk




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